                                     U. S. COURT OF APPEALS - EIGHTH CIRCUIT
                                           NOTICE OF APPEAL SUPPLEMENT

                      MISSOURI WESTERN DISTRICT - KANSAS CITY
Please note any additions or deletions to the style of the case from the style listed on the docket sheet (or attach an amended
docket sheet with the final style of the case).


 Case Caption: Sitzer et al v. National Association                    Case No.     19-cv-00332-SRB
 of Realtors et al
 Appellant: Monty March                                                Appellee: National Association of
                                                                       Realtors et al


                                                                       Appellee’s Attorney(s):
 Appellant’s Attorney(s):

 Michael Morris Buchman
 Email: mbuchman@motleyrice.com                                        Alexander Barrett
                                                                       Email: alexander.barrett@stinson.com

                                                                       Charles W. Hatfield
                                                                       Email: chuck.hatfield@stinson.com

                                                                       David R. Buchanan
                                                                       Email: dbuchanan@bjpc.com

                                                                       Ethan Glass
                                                                       Email: eglass@cooley.com

                                                                       Jack R. Bierig
                                                                       Email: jack.bierig@afslaw.com

                                                                       Jacob K Danziger
                                                                       Email: jacob.danziger@afslaw.com

                                                                       John S Purcell
                                                                       Email: john.purcell@afslaw.com

                                                                       Molly L Wiltshire
                                                                       Email: molly.wiltshire@afslaw.com

                                                                       Robert J Wierenga
                                                                       Email: robert.wierenga@afslaw.com

                                                                       Suzanne L. Wahl
                                                                       Email: suzanne.wahl@afslaw.com

                                                                       Anne Bigler
                                                                       Email: abigler@cooley.com

                                                                       Beatriz Mejia
                                                                       Email: MEJIAB@cooley.com




        Case 4:19-cv-00332-SRB                      Document 1634                Filed 12/03/24            Page 1 of 3
                                   Christopher G Michel
                                   Email: christophermichel@quinnemanuel.com

                                   Deepti Bansal
                                   Email: DBANSAL@cooley.com

                                   Elizabeth Wright
                                   Email: ewright@cooley.com

                                   John Bash
                                   Email: johnbash@quinnemanuel.com

                                   Michael D Bonanno
                                   Email: mikebonanno@quinnemanuel.com

                                   Michael Sebring
                                   Email: michaelsebring@quinnemanuel.com

                                   Rachel G Frank
                                   Email: rachelfrank@quinnemanuel.com

                                   Samantha Strauss
                                   Email: sastrauss@cooley.com

                                   Sarah M. Topol
                                   Email: stopol@cooley.com

                                   William A Burck
                                   Email: williamburck@quinnemanuel.com

                                   Georgina Inglis
                                   Email: ginglis@cooley.com

                                   Brian C Fries
                                   Email: brian.fries@lathropgpm.com

                                   Jean Paul Bradshaw , II
                                   Email: jeanpaul.bradshaw@lathropgpm.com

                                   Jennifer M. Keas
                                   Email: jkeas@foley.com

                                   Matthew T Ciulla
                                   Email: matthew.ciulla@macgilllaw.com

                                   Robert D MacGill
                                   Email: robert.macgill@macgilllaw.com

                                   Christopher D. Dusseault
                                   Email: CDusseault@gibsondunn.com

                                   Cynthia Richman
                                   Email: CRichman@gibsondunn.com

                                   Gregg J. Costa
                                   Email: gcosta@gibsondunn.com




Case 4:19-cv-00332-SRB   Document 1634    Filed 12/03/24         Page 2 of 3
                                                Harry R.S. Philips
                                                Email: HPhillips2@gibsondunn.com

                                                Ian T Hampton
                                                Email: ihampton@foley.com

                                                Anna P. Hayes
                                                Email: anna.hayes@hklaw.com

                                                Danne Wayne Webb
                                                Email: dwebb@hab-law.com

                                                David C. Kully
                                                Email: david.kully@hklaw.com

                                                Jennifer Lada
                                                Email: jennifer.lada@hklaw.com

                                                Martin G. Durkin , Jr
                                                Email: martin.durkin@hklaw.com

                                                Timothy Ray
                                                Email: timothy.ray@hklaw.com

                                                William F. Farley
                                                Email: william.farley@hklaw.com

                                                Barack S Echols
                                                Email: barack.echols@hklaw.com

                                                Boris Bershteyn
                                                Email: boris.bershteyn@skadden.com

                                                Dina McKenney
                                                Email: dina.mckenney@hklaw.com

                                                Taylor L Connolly
                                                Email: tconnolly@bjpc.com

                                                Aaron Van Oort
                                                Email: aaron.vanoort@faegredrinker.com




                                                Please return files and documents to:
 Court Reporter(s):                             United States District Court
                                                400 East 9th Street, Room 1510
 Gayle Wambolt                                  Kansas City, MO 64106

                                                Contact Person for Appeal:
                                                Jason_Terry@mow.uscourts.gov

 Length of Trial:     Fee:                    IFP:                  Pending IFP Motion:
 13 Days              Paid                    No                    No
 Counsel:             Pending Motions?        Local Interest?       Simultaneous Release?
 Retained             Yes (Doc 1628 & 1633)   No                    No

Special Comments:
      Case 4:19-cv-00332-SRB       Document 1634         Filed 12/03/24        Page 3 of 3
